14 F.3d 594
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Chris Eugene HOLLOWAY, Plaintiff-Appellant,v.SHENANDOAH COUNTY JAIL;  Earl Smith, III, Sergeant;  CharlesM. Dellinger;  Marshall Robinson;  David Fleming;Gene Stroope;  Kevin Hollingsworth,Defendants-Appellees.
    No. 92-7015.
    United States Court of Appeals, Fourth Circuit.
    Submitted Aug. 6, 1993.Decided Dec. 22, 1993.
    
      Appeal from the United States District Court for the Western District of Virginia, at Roanoke.  James H. Michael, Jr., District Judge.
      Chris Eugene Holloway, appellant pro se.
      J. Ross Newell, III, Tim-Berlake, Smith, Thomas &amp; Moses, P.C., Staunton, VA, for appellees.
      Before PHILLIPS and WILKINSON, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      OPINION
      PER CURIAM:
    
    
      1
      Chris Eugene Holloway appeals from the district court's order denying relief under 42 U.S.C. Sec. 1983 (1988).  Our review of the record and the district court's opinion accepting the recommendation of the magistrate judge discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Holloway v. Shenandoah County Jail, No. CA-91-64-R (W.D. Va.  Sept. 15, 1992).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    